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 8                                                     UNITED STATES DISTRICT COURT
 9                                                  EASTERN DISTRICT OF CALIFORNIA
10

11 RALPH COLEMAN, et ai.                                                      Case No. CIV S 90-0520 LKK-JFM
12                                            Plaintiffs,
                                                                              DECLARATION OF STEPHANIE WAGNER
13 v. IN SUPPORT OF PLAINTIFF'S MOTION FOR
                                    EMERGENCY RELIEF REGARING
14 ARNOLD SCHW ARZENEGGER, et aI., DEFENDANTS' DENIAL OF ACCESS TO
                                    INPATIENT PSYCHIATRIC BEDS IN DMH'S
15 Defendants. STATE HOSPITALS
16                                                                            Hearing date: April 23, 2007
                                                                              Time: 10:00 a.m.
17                                                                            Courroom: . 4
                                                                              Judge: Honorable Lawrence K. Karlton
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         Decl. of   Stephanie Wagner iso Plaintfs' Mo. For Emergency Relief
                                                                                   Regarding Defendants' Denial of Access to Inpatient
         Psychiatric Beds in DMH's State Hospitals
         Case No. CIV S 90-0520 LKK-JFM
         56194_2.doc
 Case 2:90-cv-00520-KJM-SCR                                 Document 2198    Filed 04/16/07        Page 2 of 2



 1 I, Stephanie Wagner, declare under penalty of peijury:

 2 1.             I am employed by the California Department of               Mental Health (DMH) as a Consulting
 3    Psychologist in the Forensic Services Mentally Disordered Offender (MDO) Unit at DMH
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      headquarers.
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      2. As a Consulting Psychologist, I evaluate and make a risk assessment of all mentally
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      disordered offenders who have committed a violent crime and are about to be released on parole.
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      This evaluation and assessment work is mandated by Californa Penal Code § 2962. The process
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 9   requires that one evaluator from DMH and one evaluator from California Deparment of

10   Corrections and Rehabilitation (CDCR) make an independent assessment of each mentally
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     disordered offender. If the two evaluators agree, then the prisoner is either released (because
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     he/she does not present a physical danger to society due to a mental disorder) or involuntarly
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     committed to a state hospital for additional treatment. Ifwe do not agree, then the Deparment of
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     Justice selects two other evaluators from their panel of evaluators to evaluate the prisoner.
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16   3.          CDCR MDO evaluators received the same raises that ClinicallStaffPsychologists

17   received under Coleman. I and other DMH MDO evaluators, who evaluate the same prisoner at

18   the same location (usually at the prisons) that the CDCR MDO evaluators do, did not receive a
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     raise. The huge discrepancy (32.5 percent) between CDCR salares and DMH salares for the
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     same work on the same patient has caused me to seriously consider transferrng to the CDCR
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     MDO unit, which presently has vacancies. Indeed, it is difficult to justify remaining at DMH
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     given the large pay disparty for the performance ofthe same job. I have been told by a number
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24   of   my colleagues that they are considering the same transfer.

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                                                                  ~~a/~
                 Executed this 16th day of April, 2007 at Sacramento, California.




28 Stephanie Wagner
     Decl. of Stephanie Wagner iso Plaintffs' Mo. For Emergency Relief   Regarding Defendants' Denial of Access to Inpatient 2
     Psychiatric Beds in DMH's State Hospitals
     Case No. CIV S 90-0520 LKK-JFM
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